          Case 2:22-cv-01656-DAD-JDP Document 42-3 Filed 05/20/24 Page 1 of 5




                                   Exhibit B




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
                                                                   20CV372366
                                                                 Santa Clara – Civil
                      Case 2:22-cv-01656-DAD-JDP Document 42-3 Filed 05/20/24 Page 2 of 5
                                                                                                                                  EFS-020
ATTORNEY OR PARTY WITHOUT ATTORNEY:                  STATE BAR NO.: 264392
                                                                                                         FOR COURT USE ONLY
NAME:  Rumduol Vuong
FIRM NAME: California Civil Rights Department (Formerly DFEH)
STREET ADDRESS: 2218 Kausen Drive, Suite 100
CITY: Elk Grove                                       STATE: CA      ZIP CODE: 95758
TELEPHONE NO.: (916) 964-1925                        FAX NO.: (888) 382-5293
                                                                                         on 3/15/2024 10:49 AM
E-MAIL ADDRESS: Rumduol.Vuong@calcivilrights.ca.gov

ATTORNEY FOR (name): California Department of Fair Employment and Housing
                                                                                         Reviewed By: L. Nguyen
                                                                                         Case #20CV372366
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Clara
 STREET ADDRESS: 191 North First Street
                                                                                         Envelope: 14716662
 MAILING ADDRESS: 191 North First Street
CITY AND ZIP CODE: San Jose, CA 95113
     BRANCH NAME: Downtown Superior Court
                                                                                          CASE NUMBER:

      PLAINTIFF/PETITIONER: California Department of Fair Employment and Housing
                                                                                          20CV372366

 DEFENDANT/RESPONDENT: Cisco Systems, Inc.                                                JUDICIAL OFFICER:
                                                                                          Hon. Amber Rosen
                            OTHER:
                                                                                          DEPT:
                                  PROPOSED ORDER (COVER SHEET)                            16




 NOTE: This cover sheet is to be used to electronically file and submit to the court a proposed order. The proposed order sent
 electronically to the court must be in PDF format and must be attached to this cover sheet. In addition, a version of the proposed
 order in an editable word-processing format must be sent to the court at the same time as this cover sheet and the attached proposed
 order in PDF format are filed.


1. Name of the party submitting the proposed order:
   California Department of Fair Employment and Housing



2. Title of the proposed order:
     Proposed Order Granting Plaintiff California Civil Rights Department Motion for Leave to Amend First Amended Complaint



3. The proceeding to which the proposed order relates is:

     a. Description of proceeding: Motion for Leave to Amend

     b. Date and time: March 12, 2024 9:00 AM

     c. Place: Santa Clara Superior Court: Department 16




4. The proposed order was served on the other parties in the case.




Rumduol Vuong
                             (TYPE OR PRINT NAME)                                       (SIGNATURE OF PARTY OR ATTORNEY)


                                                                                                                                     Page 1 of 2

Form Adopted for Mandatory Use
Judicial Council of California
                                                    PROPOSED ORDER (COVER SHEET)                                              Cal. Rules of Court,
                                                                                                                              rules 2.252, 3.1312
EFS-020 [Rev. February 1, 2017]                            (Electronic Filing)                                                www.courts.ca.gov
                      Case 2:22-cv-01656-DAD-JDP Document 42-3 Filed 05/20/24 Page 3 of 5
                                                                                                                               EFS-020
  CASE NAME:                                                                                   CASE NUMBER:
  California Department of Fair Employment and Housing v. Cisco Systems, Inc.                  20CV372366



                                                    PROOF OF ELECTRONIC SERVICE
                                                           PROPOSED ORDER




1. I am at least 18 years old and not a party to this action.


     a. My residence or business address is (specify):
          320 West 4th Street, Suite 1000, Los Angeles, CA 90013




     b. My electronic service address is (specify): salina.powell@calcivilrights.ca.gov




2. I electronically served the Proposed Order (Cover Sheet) with a proposed order in PDF format attached, and a proposed order in
   an editable word-processing format as follows:

     a. On (name of person served) (If the person served is an attorney, the party or parties represented should also be stated.):
        Lynne C. Hermle
        Joseph C. Liburt
        Nicholas J,. Horton

     b. To (electronic service address of person served): lchermle@orrick.com, jliburt@orrick.com, nhorton@orrick.com
                                                                                                                    a
     c. On (date): March 15, 2024



D       Electronic service of the Proposed Order (Cover Sheet) with the attached proposed order in PDF format and service of the
        proposed order in an editable word-processing format on additional persons are described in an attachment.




I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: March 15, 2024




Salina Powell                                                                  ►
                (TYPE OR PRINT NAME OF DECLARANT)                                                 (SIGNATURE OF DECLARANT)




EFS-020 [Rev. February 1, 2017]                     PROPOSED ORDER (COVER SHEET)                                                 Page 2 of 2

                                                           (Electronic Filing)
          Case 2:22-cv-01656-DAD-JDP Document 42-3 Filed 05/20/24 Page 4 of 5



 1   JAMIE CROOK Chief Counsel (#245757)
     Jamie.crook@calcivilrights.ca.gov
 2   RUMDUOL VUONG, Assistant Chief Counsel (#264392)
     Rumduol.vuong@CalCivilRights.ca.gov
 3   BRETT WATSON, Associate Chief Counsel (#327669)
 4   Brett.watson@calcivilrights.ca.gov
     DYLAN COLBERT, Staff Counsel (#341424)
 5   Dylan.colbert@calcivilrights.ca.gov
     ELIANA MATA, Staff Counsel (#327845)
 6   Eliana.mata@calcivilrights.ca.gov
     CALIFORNIA CIVIL RIGHTS DEPARTMENT
 7   2218 Kausen Drive, Suite 100
 8   Elk Grove, CA 95758
     Telephone: (916) 964-1925
 9   Facsimile: (888) 382-5293

10   Attorneys for Plaintiff,
     California Department of Fair Employment and Housing            (Fee Exempt, Gov. Code, § 6103)
11

12                  IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                         IN AND FOR THE COUNTY OF SANTA CLARA

14
     CALIFORNIA DEPARTMENT OF FAIR                     Case No. 20CV372366
15   EMPLOYMENT AND HOUSING, an agency of
     the State of California,                          [PROPOSED] ORDER GRANTING
16                                                     PLAINTIFF CALIFORNIA CIVIL RIGHTS
                                         Plaintiff,    DEPARTMENT’S MOTION FOR LEAVE TO
17                                                     AMEND FIRST AMENDED COMPLAINT
                          vs.
18
     CISCO SYSTEMS, INC., a California
19   Corporation,                                       Action Filed: October 16, 2020
                                                        Trial Date:   TBD
20                                     Defendant.

21

22

23

24

25

26

27
                                                      -1-
28
                            Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc.
                      [Proposed] Order Granting Plaintiff’s Motion for Leave to Amend
          Case 2:22-cv-01656-DAD-JDP Document 42-3 Filed 05/20/24 Page 5 of 5



 1          Plaintiff California Civil Rights Department’s Motion for Leave to Amend First Amended

 2   Complaint and to File Second Amended Complaint came before the Court for hearing on March 12,

 3   2024 at 9:00 a.m. in Department 16.

 4          The Court, having considered all papers filed herein, and good cause appearing, hereby

 5   ORDERS:

 6          The Motion for Leave to Amend First Amended Complaint and to File Second Amended

 7   Complaint is GRANTED.

 8          Plaintiff California Civil Rights Department shall submit the Final Order and file the Second
 9   Amended Complaint within 10 days.
10          Defendant Cisco Systems, Inc. shall have 30 days to file an answer to the Second Amended
11   Complaint.
12

13

14   Dated: ______________                               __________________________________
                                                               Judge of the Superior Court
15

16

17

18

19

20

21

22

23

24

25

26

27
                                                       -2-
28
                             Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc.
                       [Proposed] Order Granting Plaintiff’s Motion for Leave to Amend
